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Marie-Ann Greenberg, Trustee
30 TWO BRIDGES ROAD
SUITE 330
FAIRFIELD, NJ 07004-1550


                                  IN THE UNITED STATES BANKRUPTCY COURT
                                         FOR THE DISTRICT OF NEW JERSEY

                    TRUSTEE'S REPORT OF RECEIPTS AND DISBURSEMENTS AS OF JULY 7, 2022

                                                   Chapter 13 Case # 17-34397



       Re:     YOLEINE D. BLAISE                                              Atty:   RALPH A. FERRO, JR., ESQ.
               16 FAIRWAY AVENUE                                                      66 EAST MAIN STREET - 3RD FLOOR
               WEST ORANGE, NJ 07052                                                  LITTLE FALLS, NJ 07424


PLEASE SEE SUMMARY SECTION FOR ESTIMATED BALANCE TO COMPLETE.

                                                        RECEIPTS          (Please Read Across)


  Date                Amount         Source Document No.          Date                Amount        Source Document No.
  01/01/2018            $350.00      4561356000   -              02/02/2018           $350.00       4641508000   -
  03/02/2018            $350.00      4720045000   -              04/02/2018           $350.00       4801483000
  05/01/2018            $374.00      4876066000                  06/04/2018           $374.00       4962034000
  07/02/2018            $374.00      5031490000                  08/03/2018           $374.00       5123645000
  09/04/2018            $374.00      5197996000                  10/02/2018           $374.00       5278561000
  11/02/2018            $374.00      5363406000                  12/03/2018           $374.00       5438860000
  01/03/2019            $374.00      5513892000                  02/04/2019           $374.00       5588557000
  03/04/2019            $374.00      5673188000                  04/02/2019           $374.00       5749579000
  05/03/2019            $374.00      5832614000                  06/03/2019           $374.00       5908077000
  07/02/2019            $374.00      5988483000                  08/05/2019           $374.00       6066870000
  09/03/2019            $374.00      6146905000                  10/02/2019           $374.00       6220288000
  11/04/2019            $374.00      6299124000                  12/02/2019           $374.00       6373616000
  01/03/2020            $374.00      6450292000                  02/05/2020           $374.00       6529672000
  03/02/2020            $374.00      6607568000                  04/03/2020           $374.00       6686193000
  05/04/2020            $374.00      6764100000                  06/02/2020           $374.00       6833986000
  07/06/2020            $374.00      6916714000                  08/03/2020           $374.00       6978890000
  09/02/2020            $374.00      7059415000                  10/01/2020           $374.00       7127191000
  11/03/2020            $374.00      7206600000                  12/03/2020           $374.00       7281238000
  01/04/2021            $374.00      7349122000                  02/02/2021           $374.00       7423317000
  03/02/2021            $374.00      7494371000                  04/05/2021           $374.00       7573739000
  05/03/2021            $374.00      7646080000                  06/04/2021           $374.00       7717172000
  07/06/2021            $374.00      7787085000                  08/04/2021           $374.00       7857387000
  09/03/2021            $374.00      7924438000                  10/04/2021           $374.00       7992725000
  11/03/2021            $374.00      8059002000                  12/03/2021           $374.00       8123378000
  01/18/2022            $374.00      8211287000                  01/31/2022           $374.00       8243593000
  03/02/2022            $374.00      8310958000                  04/04/2022           $374.00       8382857000
  05/02/2022            $374.00      8439498000                  06/03/2022           $374.00       8506920000

Total Receipts: $20,100.00 - Amount Refunded to Debtor: $0.00 = Receipts Applied to Plan: $20,100.00




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                                      CLAIMS AND DISTRIBUTIONS
                                                                      Allowed   Percent to                         Unpaid
 Claim #            Claimant Name                    Class             Claim     be Paid         Paid              Balance *
   TTE     TRUSTEE COMPENSATION                  ADMIN                                            1,136.67       IN SUMMARY
  ATTY     ATTORNEY                              ADMIN              1,364.70     100.00%          1,364.70                0.00
 COURT     CLERK OF COURT                        ADMIN                   0.00    100.00%              0.00                0.00
   0001    CAPITAL ONE BANK                      UNSECURED               0.00    100.00%              0.00                0.00
   0002    CITIBANK, NA                          UNSECURED               0.00    100.00%              0.00                0.00
   0003    LAKEVIEW LOAN SERVICING LLC           MORTGAGE ARREARS IN 6,767.09
                                                                     DEFAULT     100.00%          6,767.09                0.00
   0004    DEPARTMENT STORES NATIONAL BANK       UNSECURED             856.65    100.00%            853.66                2.99
   0005    MERRICK BANK                          UNSECURED           1,212.64    100.00%          1,208.41                4.23
   0006    MIDLAND FUNDING LLC                   UNSECURED               0.00    100.00%              0.00                0.00
   0007    ONLINE COLLECTIONS                    UNSECURED               0.00    100.00%              0.00                0.00
   0008    UNITED STATES BANKRUPTCY COURT        UNSECURED           8,438.03    100.00%          1,104.17            7,333.86
   0011    WELLS FARGO CARD SERVICE              UNSECURED               0.00    100.00%              0.00                0.00
   0013    CAPITAL ONE BANK                      UNSECURED               0.00    100.00%              0.00                0.00

                                                                                                        Total Paid: $12,434.70
                                                                                                                  See Summary

                                     LIST OF PAYMENTS TO CLAIMS                     (Please Read Across)

 Claimant Name          Date        Amount         Check #                          Date            Amount           Check #
  DEPARTMENT STORES NATIONAL BANK
                   01/13/2020         $25.38         841266                      02/10/2020             $28.91        843153
                   03/16/2020         $28.91         845063                      04/20/2020             $28.90        847012
                   05/18/2020         $27.44         848901                      06/15/2020             $27.44        850586
                   07/20/2020         $28.21         852389                      08/17/2020             $28.20        854254
                   09/21/2020         $28.21         856072                      10/19/2020             $28.20        857950
                   11/16/2020         $28.21         859744                      12/21/2020             $28.20        861571
                   01/11/2021         $28.21         863345                      02/22/2021             $28.20        865043
                   03/15/2021         $28.21         866879                      04/19/2021             $28.20        868575
                   04/19/2021        ($28.20)        868575                      04/19/2021             $28.20        869689
                   05/17/2021         $28.21         870472                      06/21/2021             $28.66        872283
                   07/19/2021         $28.66         874075                      08/16/2021             $28.67        875757
                   09/20/2021         $28.66         877500                      10/18/2021             $28.66        879271
                   11/17/2021         $28.97         880981                      12/13/2021             $28.96        882612
                   01/10/2022         $28.97         884266                      03/14/2022             $57.94        887664
                   04/18/2022         $29.42         889378                      05/16/2022             $29.42        891071
                   06/20/2022         $29.43         892767
  LAKEVIEW LOAN SERVICING LLC
                   06/18/2018        $308.25         803793                      07/16/2018          $353.80          805774
                   08/20/2018        $353.80         807656                      09/17/2018          $362.78          809629
                   10/22/2018        $362.78         811530                      11/19/2018          $352.68          813499
                   12/17/2018        $352.68         815372                      01/14/2019          $352.68          817289
                   02/11/2019        $352.68         819181                      03/18/2019          $352.68          821129
                   04/15/2019        $352.68         823168                      05/20/2019          $352.68          825128
                   06/17/2019        $359.04         827173                      07/15/2019          $359.04          829031
                   08/19/2019        $359.04         830935                      09/16/2019          $359.04          832989
                   10/21/2019        $368.39         834957                      11/18/2019          $354.55          837059
                   12/16/2019        $354.55         838984                      01/13/2020           $43.27          840860




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 Claimant Name             Date            Amount            Check #                               Date              Amount        Check #
  MERRICK BANK
                         01/13/2020              $35.92       841519                            02/10/2020             $40.93        843410
                         03/16/2020              $40.92       845327                            04/20/2020             $40.91        847268
                         05/18/2020              $38.86       849118                            06/15/2020             $38.84        850813
                         07/20/2020              $39.92       852632                            08/17/2020             $39.93        854490
                         09/21/2020              $39.92       856328                            10/19/2020             $39.93        858188
                         11/16/2020              $39.92       859975                            12/21/2020             $39.93        861814
                         01/11/2021              $39.93       863565                            02/22/2021             $39.92        865319
                         03/15/2021              $39.93       867108                            04/19/2021             $39.92        868845
                         05/17/2021              $39.93       870721                            06/21/2021             $40.57        872532
                         07/19/2021              $40.58       874308                            08/16/2021             $40.57        875999
                         09/20/2021              $40.57       877756                            10/18/2021             $40.57        879500
                         11/17/2021              $41.01       881211                            12/13/2021             $41.00        882830
                         01/10/2022              $41.01       884478                            03/14/2022             $82.01        887889
                         04/18/2022              $41.65       889625                            05/16/2022             $41.65        891311
                         06/20/2022              $41.66       893016
  PSE&G
                         01/13/2020          $249.98          841727                            02/10/2020            $284.72        843600
                         03/16/2020          $284.73          845527                            04/20/2020            $284.74        847471
                         05/18/2020          $270.30          849293                            06/08/2020           ($270.30)       849293

                                                               SUMMARY
 Summary of all receipts and disbursements from the date the case was filed , to and including: July 07, 2022.

 Receipts: $20,100.00             -   Paid to Claims: $9,933.33        -   Admin Costs Paid: $2,501.37    =      Funds on Hand: $7,665.30
 Unpaid Balance to Claims: $7,341.08         +     Unpaid Trustee Comp: $0.00               =    Total Unpaid Balance: **($324.22)


**NOTE: THIS IS AN APPROXIMATE BALANCE. ADDITIONAL ALLOWED CLAIMS AND OTHER VARIABLES MAY AFFECT
THE AMOUNT TO COMPLETE THE PLAN.




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